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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND


TWIN CITY FIRE INSURANCE
COMPANY,

        Plaintiff,
                                                             Case No. 22-769
v.

AXIS INSURANCE COMPANY,

       Defendant.
______________________________/

 DEFENDANT, AXIS INSURANCE COMPANY’S MEMORANDUM IN SUPPORT OF
             MOTION FOR PARTIAL SUMMARY JUDGMENT

       Defendant, AXIS Insurance Company (“AXIS”) files this memorandum in support of its

Motion for Partial Summary Judgment.

                                  I.      INTRODUCTION

       Plaintiff, Twin City Fire Insurance Company (“Hartford”) filed this action seeking

reimbursement of amounts paid to three separate law firms to defend Gates Hudson & Associates,

Inc. (“Gates Hudson”) and its two employees, with respect to the underlying lawsuit styled, Wayne

Padmore et al. v. Atlas West End Silver Hill, LLC et al., Case No. CL20-14812, in the Circuit

Court for Prince George’s County (“Padmore Lawsuit”). Unabashedly, Hartford does so despite

the fact that it plainly waived and/or is estopped from asserting this claim against AXIS.

Specifically, the Padmore Lawsuit settled, with AXIS paying its full policy limit, yet Hartford

wholly failed to document any intention of seeking reimbursement of defense costs. Indeed,

Hartford never even raised its purported claim until months after the settlement was documented

by the court in the Padmore Lawsuit.
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       That said, and even assuming arguendo, that Hartford did not waive its rights, its claim is

necessarily limited to defense costs incurred after January 7, 2022. Hartford admittedly did not

tender Gates Hudson’s defense in the Padmore Lawsuit to AXIS until January 7, 2022. True to

course, Harford wants to be rewarded for its dereliction throughout the entire underlying lawsuit

by relying on an earlier email that Gates Hudson sent to Atlas. Under well settled New York law,

which applies to the AXIS Policy, this email is not a sufficient tender of coverage to AXIS. Rather,

the email was a request for contractual indemnification from Gates Hudson to Atlas. Hartford did

not send the email nor was it directed to AXIS. It, therefore, did not clearly and unequivocally

place AXIS on notice of a request for insured status under the AXIS Policy as required by New

York law. Therefore, Hartford cannot recover any defense costs incurred prior to January 7, 2022.

                  II.     FACTS NOT SUBJECT TO GENUINE DISPUTE

A.     The Property Management Agreement

       Atlas is the owner of a residential apartment complex located on the corner of Silver Hill

Road and Terrace Drive in Suitland, Maryland. Exhibit 1, Complaint in Underlying Padmore

Lawsuit, ¶ 9.    The apartment complex, known as Silver Hill apartment community (“the

Property”), is comprised of several buildings, including 3529 and 3527 Terrace Drive. Exhibit 1,

¶ 9.

       On March 1, 2016, Atlas entered into a Property Management Agreement (the

“Agreement”) with Gates Hudson, under which Gates Hudson assumed the duty to manage the

Property. Exhibit 1, ¶ 16; Exhibit 2, Property Management Agreement, AXIS001514.               The

Agreement requires the parties to indemnify each other for injury claims pursuant to cross-

indemnification provisions:

7.     INDEMNIFICATION

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          (a) Indemnification By Owner. Owner agrees to indemnify and hold Manager and
      Manager’s officers, directors, stockholders and employees harmless from and against
      any and all costs, expenses, reasonable attorneys’ fees, suits, liabilities, damages,
      judgments, rulings, settlements, claims for any damages or governmental proceeding
      (civil or criminal) (“Indemnified Claim”), in any way relating to the Property, the
      management or leasing of the Property by Manager, or the performance or exercise by
      Manager, except for those matters arising out of the gross negligence or willful
      misconduct of Manager.

          (b) Appointment of Counsel. If an Indemnified Claim is brought or asserted
      against Manager, then Owner, upon notice from Manager, shall assume the
      investigation and defense thereof, including the employment and payment of
      Manager’s attorneys and payment of all of Manager’s reasonable expenses. If a claim
      or action is brought against Manager but not Owner, or if Manager reasonably
      determines that it requires separate counsel to protect its interests because the interests
      of Owner and Manager conflict, Manager may select its own counsel to be paid by
      Owner, subject to the prior approval of Owner, which shall not be unreasonably
      withheld. In cases of gross negligence or willful misconduct of Manager, Manager will
      pay its own expenses and expenses of Owner.

          (c) Indemnification By Manager. Manager agrees to indemnify and hold Owner
      and Owner’s officers, directors, stockholders and employees harmless from and against
      any Indemnified Claim in any way relating to the Property, the management or leasing
      of the Property by Manager, or the performance or exercise by Manager of the duties,
      obligations, powers or authorities herein or hereinafter granted to Manager, except for
      those matters arising out of the gross negligence or willful misconduct of Owner.

         Exhibit 2, AXIS001518-001519.

B.       The Padmore Lawsuit

         On August 13, 2020, the Padmore Lawsuit was served on Gates Hudson. Exhibit 1,

Complaint in Underlying Padmore Lawsuit. The Padmore Lawsuit sought damages due to carbon

monoxide poisoning caused by the water heater at the Property. Exhibit 1, ¶ 67-69. Andre Ferrell

was an employee of Gates Hudson who was the maintenance technician at the Property. Exhibit

1, ¶ 18. Danielle Samuels was the Property manager employed by Gates Hudson. Exhibit 1, ¶

20.     The plaintiffs, who were residents at the Property, alleged their injuries were caused by

Atlas’s, Gates Hudson’s, Ms. Samuels’, and Mr. Ferrell’s failure to properly maintain the hot water

heater. Exhibit 1, ¶ 84-99.
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C.     The AXIS Policy

       AXIS issued a Commercial General Liability Policy to Atlas, policy number P-001-

000012089-02, effective July 10, 2018 to July 10, 2019 with policy limits of $1 million per

“occurrence” (the “AXIS Policy”). Exhibit 3, AXIS Policy, AXIS001595. The AXIS Policy’s

Insuring Agreement for Coverage A – Bodily Injury and Property Damage Liability, requires

AXIS to pay damages because of “bodily injury” caused by an “occurrence”, defined as an

“accident”, that occurs during the policy period. Exhibit 3, AXIS001598; AXIS001612. The

AXIS Policy provides a duty to defend Atlas in any “suit” alleging such damages.       Exhibit 3,

AXIS001598.

       The duties to defend and to pay damages under the AXIS Policy are limited by the

following exhaustion language:

           …. We may, at our discretion, investigate any “occurrence” and settle any claim
           or “suit” that may result. But:

           (1) The amount we will pay for damages is limited in Section III – Limits Of
               Insurance; and

           (2) Our right and duty to defend ends when we have used up the applicable
               limit of insurance in the payment of judgments or settlements under
               Coverages A and B. Exhibit 3, AXIS001598.

D.     The Hartford Policy

       Hartford issued a Special Multi-Flex Policy to Gates Hudson, policy number 20 UUN

IB5054 Policy Term, effective January 1, 2019 to January 1, 2020 (the “Hartford Policy”), with

limits of $1 million per “occurrence”. Exhibit 4, Hartford Policy. The Hartford Policy’s Insuring

Agreement for Coverage A – Bodily Injury and Property Damage Liability, requires Hartford to

pay damages because of “bodily injury” caused by an “occurrence”, defined as an “accident”, that



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occurs during the policy period. Exhibit 4. The Hartford Policy provides a duty to defend in any

“suit” alleging such damages. Exhibit 4.

        The Hartford Policy also contains an “Absolute Pollution Exclusion”, which excludes

coverage for “bodily injury” that is “arising out of the actual, alleged or threatened discharge,

dispersal, seepage, migration, release or escape of “pollutants”: (a) At or from any premises….”

Exhibit 8, ¶ 16.

E.     Gates Hudson’s tender for contractual indemnity to Atlas

       Gates Hudson communicated with Atlas about the Padmore Lawsuit and requested defense

and indemnification by Atlas and its carrier based on Atlas’ contractual defense and indemnity

obligations under the Agreement. By email dated August 14, 2020, Danielle Serrano, on behalf

of Gates Hudson, sent an email to Atlas’ representative, Lloyd Grosklags, providing the complaint

filed in the Padmore Lawsuit, requesting that Atlas forward the complaint to Atlas’ insurer, and

seeking confirmation that defense counsel would be assigned to defend Gates Hudson and the

employees. Exhibit 5, January 7, 2022 Tender Letter from Hartford to AXIS, AXIS000258.

       By email dated August 30, 2020, Atlas advised Gates Hudson that Atlas’ insurer would not

“be representing Gates Hudson or the two site employees but rather will be representing [Atlas].”

Exhibit 5, AXIS000257.

       By email dated August 31, 2020, Gates Hudson replied to Atlas that “the property

indemnifies Gates Hudson, so the carrier should represent both the property and Gates Hudson.

The insurance carrier will request a copy of our management agreement to confirm, which I have

attached”. Exhibit 5, AXIS000256- AXIS000257.

       By email dated September 3, 2020, Gates Hudson asked Atlas to “confirm that the carrier

is indemnifying and defending Gates Hudson”. Exhibit 5, AXIS000255.

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       By email dated September 3, 2020, Gates Hudson provided a copy of the Agreement to

Atlas’ broker, claiming that Gates Hudson was entitled to a defense pursuant to the Agreement:

           We are the managing agent. Attached is the Property Management Agreement,
           which states that we are indemnified. Exhibit 5, AXIS000253.

       Atlas’ broker forwarded the above emails to AXIS and inquired whether AXIS would

provide a defense to Gates Hudson and its employees under the Agreement.               Exhibit 5,

AXIS0000248-000253. By email dated September 9, 2020, AXIS replied that “there is a provision

in the Agreement requiring the Manager to indemnify and afford additional insurance status to the

Owner” and “we do need to have Gates Hudson & Associates’ carrier involved in review of the

complaint”. Exhibit 5, AXIS0000248.

       Notably however, none of these emails involving AXIS were prepared by Hartford.

Hartford was not copied on the emails, and none of the communications were a tender for coverage

under the AXIS Policy. It is clear from these emails that Gates Hudson was not seeking a defense

as an insured under the AXIS Policy, but as an indemnitee under the Agreement.

F.     Hartford’s tender to AXIS

       Over 15 months later, the parties in the Padmore Lawsuit attended a mediation on January

13, 2022. Exhibit 5, AXIS000246. Shortly before the mediation, Hartford retained Ezra Gollogly

as its coverage counsel. Exhibit 5, AXIS000246-AXIS000247. By letter dated January 7, 2022,

six days prior to a mediation, Hartford, through its counsel, Mr. Gollogly, demanded for the first

time that AXIS reimburse Hartford for attorney’s fees and costs paid to defend Gates Hudson and

its employees in the Padmore Lawsuit as an insureds under the AXIS Policy. Exhibit 5,

AXIS000246-AXIS000247. Specifically, Hartford’s counsel’s letter states: “We expect AXIS to

assume the primary indemnity obligation for Atlas at the January 13 mediation, to assume the



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defense of Gates Hudson and its employees, and to reimburse Hartford for all fees and costs it has

incurred to defend Gates Hudson and its employees.” Exhibit 5, AXIS000247.

       By letter dated January 12, 2022, AXIS responded to Mr. Gollogly’s tender. AXIS

requested that Hartford defend and indemnify Atlas pursuant to the cross indemnification

provisions of the Agreement. Exhibit 6, January 12, 2022 Response to Tender from AXIS to

Hartford, AXIS002658-AXIS002659.

       Mr. Gollogly was aware before the mediation on January 13, 2022 that AXIS was

represented by coverage counsel, Kristin Gallagher. Exhibit 7, January – March 2022 Emails,

AXIS000007-AXIS0000008. Mr. Gollogly exchanged communications with Ms. Gallagher on

January 12, 2022, the day before the mediation concerning Hartford’s disclaimer of coverage to

Gates Hudson based on the Absolute Pollution Exclusion in the Hartford Policy. Exhibit 7,

AXIS000007-AXIS0000008.

       The morning of the mediation, Hartford, through Mr. Gollogly, filed a lawsuit against

Gates Hudson alleging that the Hartford had no duty to defend or indemnify Gates Hudson for the

relief sought in the Padmore Lawsuit based on the Absolute Pollution Exclusion of the Hartford

Policy. Exhibit 8, Complaint in Hartford’s Coverage Action vs. Gates Hudson.

G.     Negotiation and Settlement of the Padmore Lawsuit

       At the mediation on January 13, 2022, at approximately mid-day, AXIS’ representative,

Martee Stokes, tendered the $1 million primary limits of the AXIS Policy to Zurich, an excess

liability insurer for Atlas, to use to settle plaintiffs’ claims against Atlas. Exhibit 9, Response to

Interrogatory No. 5. After AXIS tendered its limits to Zurich for what AXIS properly assumed

would be in exchange for a full release of AXIS, Ms. Stokes was no longer negotiating settlement.

Exhibit 9, Response to Interrogatory No. 5.

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       By email dated February 9, 2022, the trial court advised that the parties had settled the

Padmore Lawsuit. Exhibit 9, Response to Interrogatory No. 5. There was no term sheet prepared

by the parties at the mediation or any time thereafter indicating that the settlement preserved

Hartford’s claim for reimbursement of defense costs incurred for Gates Hudson and its employees.

Exhibit 9, Response to Interrogatory No. 5. Initial drafts of the formal settlement agreement did

not contain the reservation of rights either. Exhibit 9, Response to Interrogatory No. 5.

       However, it was not until by email dated March 3, 2022, that Mr. Gollogly contacted Ms.

Gallagher for the first time to raise Hartford’s reimbursement claim for defense costs. Exhibit 7,

January – March 2022 Emails, AXIS000007-AXIS000008.

                        III.   SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A dispute is genuine “if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Neal v. United States, 599 F. Supp.3d 270, 286 (D. Md. 2022) (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986)).

       Once the movant meets the initial burden of presenting evidence showing no genuine issue

of material fact, the burden shifts to the opposing party. Warfaa v. Ali, 1 F.4th 289, 293 (4th Cir.

2021). The opposing party must then “present specific facts showing that there is a genuine issue

for trial.” Id. Rule 56 permits litigants to move for partial summary judgment, and for the Court

to resolve certain issues at summary judgment. Fed. R. Civ. P.56(a) (“A party may move for

summary judgment, identifying each claim or defense—or the part of each claim or defense—on

which summary judgment is sought.”); Nguit v. Safeco Ins. Co., 2017 WL 2778821, at *2 (D. Md.

June 27, 2017) (“A motion for partial summary judgment is recognized as a useful pretrial

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tool…[and] serves the purpose of speeding up litigation by narrowing the issues for trial to those

over which there is a genuine dispute of material fact.”).

       AXIS is entitled to partial summary judgment as a matter of law because, based on the

undisputed facts, Hartford is not entitled to reimbursement of defense costs paid to defend

Hartford’s insureds in the Padmore Lawsuit prior to Hartford’s tender to AXIS on January 7, 2022.

                                       IV.     ARGUMENT

       It is undisputed that Hartford defended Gates Hudson and its two employees without

communicating any request for insured status under the AXIS Policy until January 7, 2022, over

15 months after the Padmore Lawsuit was filed. As discussed below, under well settled New York

law, an insurer is not entitled to recover pre-tender defense costs. Gates Hudson’s emails to Atlas

in 2020 do not constitute a sufficient tender of Gates Hudson’s defense to AXIS. It is undisputed

that there was never an actual tender communicated by Gates Hudson to AXIS requesting coverage

as an additional insured as required by New York law. Hartford’s attempt to piggyback onto the

tender from Gates Hudson to Atlas fails. At bottom, to the extent that Hartford is entitled to recover

any damages in this case, such damages are limited to defense costs incurred by Hartford in the

Padmore Lawsuit after January 7, 2022, the date Hartford first tendered its claim for

reimbursement to AXIS.

A.     The AXIS Policy is governed by New York law.

       In this diversity action, the Court must apply Maryland choice-of-law rules to decide which

state’s law shall determine the parties’ rights and duties under the AXIS Policy. Markel Ins. Co.

v. Sumpter, No. GJH-21-2239, 2022 WL 2703832, at *6 n. 11. (D. Md. July 11, 2022). Maryland’s

choice-of-law rule for the instant action is lex loci contractus. W.C. & A.N. Miller Dev. Co. v.

Cont'l Cas. Co., 814 F.3d 171, 176 (4th Cir. 2016) (“The locus contractu of an insurance policy is

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the state in which the policy is delivered and the premiums are paid.”) (citation omitted);

Nationwide Mut. Ins. Co. v. Wendler, 796 F. Supp. 201, 202 (D. Md. 1992) (where policy was

issued and delivered in Maryland and premiums paid in Maryland, Maryland law governed

“questions relating to the validity, effect and interpretation of [the] contract.”).

        The entire premise for Hartford’s purported claim for reimbursement of defense costs is

that Gates Hudson and its employees are entitled to insured status under the AXIS Policy. The

AXIS Policy was delivered to Atlas in New York, New York.                    Exhibit 3, AXIS Policy,

AXIS001595. Accordingly, the Court must apply New York law to this claim.

B.      Hartford is not entitled to reimbursement prior to its tender on January 7, 2022 as a
        matter of law.

        Under New York law, an insurer cannot recover pre-tender defense costs from another

insurer. See Bovis Lend Lease LMB, Inc. v. Royal Surplus Lines Ins. Co., 27 A.D. 3d 84, 94 (1st

Dep’t 2005) (only requiring reimbursement for defense costs incurred after the underlying lawsuit

was tendered); JT Magen v. Hartford Fire Ins. Co., 64 A.D.3d 266, 879 N.Y.S.2d 100 (2009)

(notice of claim was satisfied when insurer received indemnification request from another carrier

on behalf of mutual insured); Liberty Ins. Underwriters v. Arch Ins. Co., 61 A.D.3d 482, 483 (1st

Dep’t 2009) (“Defendants…are not entitled to reimbursement of defense costs incurred before

tendering the defense to plaintiff…”); Allstate Ins. Co. v. Hartford Ins. Co. of the Midwest, No.

17-CV-7553 (SHS), 2019 WL 30066491, at *6 (S.D.N.Y. July 12, 2019) (same).

        In Allstate, just like in this case, Allstate sought reimbursement for defense costs from,

ironically, Hartford, for defense of a mutual insured. After the court determined that the Hartford

policy was co-primary and, therefore, responsible for a pro-rata portion of the insured’s defense

costs, the court calculated the date from which Allstate was entitled to reimbursement for that

portion of defense costs from Hartford. The court held that: “Because Allstate acquiesced—
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without any reservation—in fully funding [the insured’s] defense for most of the underlying

litigation, Allstate may only recover for legal expenses incurred after it first reserved its right to

contribution in its letter of August 12, 2016.” Id.

       The court distinguished the case that Allstate cited, Sport Rock International, Inc. v.

American Casualty Co. of Reading, 65 A.D.3d 12 (1st Dep’t 2009), because the insurer in that

case rejected the initial tender by the other insurer. Id. In Allstate, however, there was no initial

tender rejected by Hartford. Rather, Allstate defended the insured without communicating any

reservation of rights to seek contribution from Hartford, until its August 12, 2016 letter.

       The exact same set of circumstances occurred here. It is beyond dispute that Hartford did

not actually tender the defense of Gates Hudson or its employees to AXIS, or communicate any

reservation of rights to recover defense costs from AXIS, until the January 7, 2022 letter. Exhibit

5, January 7, 2022 Tender Letter from Hartford to AXIS, AXIS000246-AXIS000247. Therefore,

Hartford’s recovery from AXIS, if any, is limited to defense costs incurred after January 7, 2022.

C.     The emails from Gates Hudson to Atlas does not support Hartford’s claim for
       reimbursement.

       Hartford neglected to send a tender of Gates Hudson’s defense to AXIS at any time prior

to January 7, 2022, over 15 months after the Padmore Lawsuit was filed on August 13, 2020.

Hartford instead relies on communications by Gates Hudson to Atlas tendering Gates Hudson’s

defense in the Padmore Lawsuit based strictly on the indemnification provisions in the Agreement.

       The August-September 2020 emails relied upon by Hartford do not constitute a tender of

defense to AXIS. Exhibit 5, AXIS000248-AXIS000258. Under New York law, a tender for

insured status requires notice to the insurer that the purported insured is seeking coverage under

the policy. See Liberty Ins. Underwriters, Inc. v. Great American Ins. Co., No. 09-CV-4912, 2010

WL 369470 *8 (S.D.N.Y. Sept. 17, 2010) (finding that letter from additional insured did not
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constitute proper notice of underlying claim or request for additional insured coverage because the

letter only included the third-party complaint and nothing else in the letter indicated that the

purported additional insured was seeking coverage under the Great American policy); Travelers

Prop. Cas. Co. of America v. Hudson Excess Ins. Co., No. 1:21-CV-6671, 2023 WL 2402962

(S.D.N.Y. Mar. 8, 2023) (insurer was not entitled to recover defense costs from date of initial

letter, because that letter did not provide facts establishing coverage for the purported additional

insured under the policy).

       In Liberty Ins. Underwriters, Inc. v. Great American Ins. Co., supra., Liberty and its

insured (Arrow) sought a declaration that Great American had a duty to defend Arrow in the

underlying lawsuit and reimburse its costs. Great American insured a subcontractor (Diamond)

that was performing work for Arrow whose employee was injured during course of his

work. Arrow and Liberty claimed that Great American had the primary duty to defend Arrow in

the underlying lawsuit as Arrow was an additional insured under the Great American Policy. The

injured employee sued Arrow on January 8, 2007 and Arrow filed a third-party complaint against

Great American’s insured, Diamond, on October 4, 2007. On January 2, 2008, Arrow’s counsel

sent Diamond a letter including the third-party complaint and a copy of the certificate of insurance

and requested the letter be forwarded to the applicable insurer. Great American denied coverage

to Arrow based on Arrow’s failure to provide timely notice of an occurrence or claim. Arrow

argued that it provided proper notice through the January 2, 2008 letter, which was forwarded to

Great American.

       The court held that Arrow’s notice was not timely or proper under New York Law. First,

the court noted that under New York law an additional insured is required to provide notice

independent of whether the named insured had provided notice. 2010 WL 369470 at *6. The

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court then held that the January 2, 2008 letter did not constitute proper notice of the underlying

claim or a request for additional insured coverage because the letter included only the third-party

complaint, and nothing else in the letter indicated that Arrow was seeking coverage under the Great

American Policy. Id. at *8.

        Accordingly, under Liberty, a purported insured is required to inform the insurance carrier

that it is seeking coverage under that policy, explain why, and provide the necessary information

in support. Here, none of that happened. Gates Hudson never explained that it was seeking

coverage under the AXIS Policy or why it was seeking such coverage, and never provided the

necessary information in support of its claim for coverage under the AXIS Policy. Rather, it

simply informed Atlas that it was seeking contractual indemnity under the lease

agreement. Moreover, the fact that AXIS ultimately received the email, like the insurer in Liberty,

is irrelevant.

        Here, the emails between Gates Hudson and Atlas concern Atlas’ contractual obligations

to Gates Hudson under the parties’ Property Management Agreement. There was never any actual

tender communicated by Gates Hudson to AXIS requesting coverage as an insured as required by

New York law. Indeed, in its August 31, 2020 email to Atlas, Gates Hudson states “it is my

understanding that [Atlas] indemnifies Gates Hudson, so the carrier should represent both [Atlas]

and Gates Hudson. The insurance carrier will request a copy of our management agreement to

confirm, which I have attached.” Exhibit 5, AXIS000257.

        This is not a proper tender under New York law because it is not a request for insured

coverage under Atlas’ insurance policy(ies). To the extent that AXIS was provided notice of these

emails between Gates Hudson and Atlas, AXIS only had notice of a potential third-party claim for

contractual indemnity by Gates Hudson against Atlas. At bottom, the 2020 emails do not establish

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any duty on AXIS to defend Gates Hudson as an additional insured under the AXIS Policy, and

therefore they do not constitute sufficient tender under New York law.

D.     Hartford’s reliance on Gates Hudson’s email is even further misplaced because
       Hartford is the real party in interest.

       Gates Hudson did not sustain any damage or pay any out-of-pocket costs and, therefore

does not have a valid reimbursement claim against AXIS. See Oville v. Newski, Inc., 547 N.Y.S.2d

913, 914 (3d Dep’t 1989) (party cannot succeed on claim for breach of contract where they have

not sustained any damages). Moreover, any rights that Gates Hudson may have possessed to

recover defense costs from Atlas or AXIS were extinguished by Hartford’s settlement of the

Padmore Lawsuit. Thus, any claim that could have been pursued by Gates Hudson against AXIS

is now moot, as Gates Hudson has no actionable claim against AXIS.

       Hartford is obviously the party seeking reimbursement here. It simply cannot stand in

Gates Hudson’s shoes to pursue a claim that Gates Hudson does not have the right to pursue in the

first instance. Under New York law, subrogation in the insurance context is the principle by which

an insurer, having paid losses of its insured, is placed in the position of the insured so that it may

recover from a third party legally responsible for its loss. Winkelmann v. Excelsior Ins. Co., 85

N.Y.2d 577, 581 (1995). However, subrogation does not apply when an insurer seeks

reimbursement of defense costs from another insurer because such claims do not involve an insurer

seeking reimbursement from a third-party wrongdoer. See Maryland Cas. Co. v. W.R. Grace &

Co., 218 F.3d 204, 211 (2d Cir. 2000); Bovis Lend Lease LMB, Inc. v. Royal Surplus Lines Ins.

Co., 806 N.Y.S.2d 53, 61 (2005) (insured could not recover all its defense costs from the other

insurer, but rather the defense costs from when the insurer tendered the matter).

       Hartford cannot step in the shoes of its insured, Gates, and seek reimbursement of defense

costs based on communications between Gates and Atlas, because Hartford’s claim for
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reimbursement of defense costs is against AXIS, which is not a third-party wrongdoer. Hartford’s

attempt to piggyback on a tender by Gates Hudson to Atlas must, therefore, fail.

                                            CONCLUSION

       For the foregoing reasons, the Court should enter partial summary judgment declaring that

to the extent that if Hartford is entitled to recover any damages from AXIS in this case, those

damages are limited to defense costs incurred after January 7, 2022.



                                            Respectfully submitted,


                                             /s/ Kristin V. Gallagher
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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 14, 2024, I e-filed and therefore e-served a copy

of this Motion on the following:

        Ezra S. Gollogly, Esquire
        Steven M. Klepper, Esquire
        Kramon & Graham, P.A.
        One South Street, Suite 2600
        Baltimore, MD 21202




                                                         /s/ Kristin V. Gallagher
                                                         Kristin V. Gallagher




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